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3 DEC 0 7 full .
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5 uNlTED STATES DlSTRlCT COURT wm emma “ s' NW'MN v
6 WESTERN DiSTRlCT OF WASHiNG‘i`ON AT SEATi'i.E tv f
7 _
8
9 Defendant Civii Action ~No. 17¢CV~1077R$L
10 y leremy Reeves ' "
11
12 MEZ PRODUCTiCNS, lNC
13 (Plaintifi) David Lowe Addltionai Affirmative Deienees eli
14 Jeremy Reeves
15 V.
16
17 ROBERT KARlUKl;
18 GARY VONERICHSEN;
19 JOSEPH DELACRUZ;
20 iOSUAH HANCGCK;
21 *JEREMY REEVES; and
22 Pl-i‘r'i.i$ KlHUYU,
23 (Defendants)
24 The Plaintiff is guilty of "unciean hands". Through an invisible or seemingly non-affiliated third~ii§!¥, the '
25 Plaintiff placed his own copyrighted movie oniine in a fashion to make it readily available to personsfor
26 download. in this fashion he has found and then piucked iP address from an unlimited and hidiscrimlnm
27 amount of places off the lnternet, then claims they were infringing on his copyrighted materiai, when actuality
28 they were not.
29
30 The Plaintiff is guilty of “unjust enrichment". He seeks to take advantage of copyright laws to collect booty
31 and loot from the common citizen instead of using the copyright law to protect and promote the art of movie '
32 making and the ability to make money form the movies sale rather than from the movies copyright lawsuits
33
34" The Piaintlff' is guilty of "`assumption of the risk". A ghost or seemingly unaffiliated third party has placed
35 the Plaintiffs movie onto the intemet for him. Since an entity amliated with the plaintiff placed his movie onto
36 the internat in a fashion to make it readily available for download, the Plaintiff assumes-the rislt~ofanyone
37 »downloading it and has waived his right to any copyright protections for it.
38 ,
39 The plaintiff is guilty of “misuse of product”. instead of placing the movie online to profit from its sales the
40 plaintiff has placed the movie oniine to profit through copyright protection lawsuits, by alleging the illegal
41 downioads of a movie he put up for download
42

 

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Additional Aflirmative Defenses of
Jeremy Reeves ammann-atoms
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Civil Actiori No. 17-Cv-1077RSL

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UNlTED STATES DlSTRlCT COURT
WESTERNFD!STRlCT OF WASHiNGTON'AT SEATR.E

oefendam ' civnAction.No.`i?-cv-lomsi.
ieremy Reeves ~ y ' "
Certiiicate of service

l certify that a true and correct copy of the foregoing document has been served to all counsel or pai‘!ies oil ~
record.

` Lowe Graham iones

g 701 Hfth avenue, suite 4800
Seattle, Washington 98104

Cierk of the Court

'United States District Court for the Western District of Washingiton
' 700 Stewart Street
Seattie, WA 98101

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Additional Affirmative Defenses of ~ '
Jeremy Reeves ' 619-rm seamans

Civii Action N0.17-cv-1077RSL

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